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IN THE UNITED STATES DISTRICT COURT
FOR THEWESTERN DISTRICT OF VIRGINIA
ROANOKE DIVISION
UNITED STATES OF AMERICA
Vv. : Case No. 7:17CRO0033
BOBBY NELSON COLLINS, JR.
MOTION TO SUPPRESS SEARCH AND RELATED SEIZURE OF EVIDENCE

Comes now the defendant, Bobby Nelson Collins, Jr., by counsel, and files this Motion,
requesting that this Honorable Court suppress the evidence seized in relation to a search of a
hotel room, at the Budget Inn Express on Orange Avenue, that was in Mr. Collins’ name on or
about February 17, 2017, it being alleged by this defendant that the search was conducted in
violation of his rights against unreasonable searches and seizures. It is specifically alleged that
the hotel room in question was registered in the name of this defendant, Bobby Collins. The
government is relying on consent it was allegedly given by Ashley Green, a female encountered
outside the hotel on the night in question. Mr. Collins did not on the date in question give
police any authorization to enter the hotel room in question and conduct any search and/or
seizure of evidence related during that search. It is respectfully represented that any consent
obtained by the police and/or relied upon by the police to conduct said search was
unauthorized and illegal and, accordingly, such search was conducted in violation of his rights
against unreasonable searches and seizures. The defendant respectfully requests a hearing on
this matter.

s/ James C. Turk, Jr.
Attorney for Defendant
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CERTIFICATE OF SERVICE
| certify that on February 19, 2018, | electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system.

s/ James C. Turk, Jr.

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